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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,

             Plaintiff,

   v.                                               No. 3:18-cv-00017-NKM-JCH
   ALEXANDER E. (ALEX) JONES, et al.,

                     Defendants.



                                      STIPULATED DISMISSAL

            WHEREAS, Plaintiff Brennan Gilmore (“Gilmore”) sued Defendant Lee Ann Fleissner

  a/k/a “Lee Ann McAdoo” (“McAdoo”) for defamation;

            WHEREAS, Gilmore and McAdoo desire to amicably resolve all claims arising out of this

  action;

            WHEREAS, Gilmore and McAdoo having entered into a settlement agreement, hereby

  stipulate as set forth below to the entry of an order in this action:

                    IT IS ORDERED, ADJUDGED, AND DECREED as follows:

                    1.     Gilmore and McAdoo agree that this Court will retain jurisdiction to enforce

  the terms of the parties’ settlement agreement and to enforce and resolve any disputes related

  thereto, if necessary.

                    2.     This action and all defenses thereto with respect to Gilmore and McAdoo

  are hereby dismissed with prejudice and without costs, disbursements, or attorneys’ fees to any

  party.
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                             SO ORDERED this ___ day of ________________, 2022.



                                          ____________________________________
                                          NORMAN K. MOON
                                          SENIOR UNITED STATES DISTRICT JUDGE




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